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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.

 PAUL J. MANAFORT, JR. and                  Crim. No. 17-201 (ABJ)
 RICHARD W. GATES III,


                Defendants.


                                       STATUS REPORT

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully submits this Status Report in advance of the status conference set in this matter for

January 16, 2018, to apprise the Court of the status of the government’s discovery to date:

       A. Discovery Productions

       1.       As of the date of this filing, the government has completed a substantial portion of

the discovery in this case, including the following:

             a. more than 590,000 items 1 in load-ready format, including (but not limited to)

                financial records, records from vendors identified in the indictment, email

                communications involving the defendants, and corporate records;

             b. approximately 2,200 documents that the government has identified as “hot”

                documents;

             c. defendants’ statements to law enforcement;




       1
        An item may represent more than one document, for example, where the item includes an
email with an attachment.
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             d. imaged copies of eighty-seven electronic devices (such as laptops and phones) and

                media (such as thumb drives) obtained in the investigation; 2 and

             e. copies of nineteen search/seizure warrants and related applications.

       2.       On December 8, 2017, the government filed an initial Status Report to apprise the

Court of, among other things, its progress in discovery in advance of a status conference held in

this case on December 11, 2017. [ECF No. 81] Since that time, the government has made two

additional productions.

       3.       On December 20, 2017, the government made its fifth discovery production,

consisting of, among other things: (1) a hard drive with 123,000 separate items in load-ready

format, (2) copies of thirty-six electronic devices and/or media, 3 and (3) nine additional “hot”

documents.

       4.       On January 12, 2018, the government made its sixth discovery production,

consisting of, among other things: (1) a flash drive with approximately 50,000 separate items in

load-ready format, (2) approximately 7000 pages of additional financial and other records,

including additional foreign bank records obtained after the commencement of discovery, (3)

approximately 120 additional “hot” documents, (4) two additional search warrants and related




       2
          For devices seized or imaged during the search of Manafort’s residence, privileged
material and certain material that has been deemed irrelevant to this matter have been segregated
and not produced to defendant Gates.
        3
          Of these, thirty-five were seized from Manafort’s residence. As noted in the government’s
prior Status Report, electronic evidence seized from Manafort’s residence was previously made
available to Manafort earlier this year (to the extent that the FBI was able to access the
devices/media seized at that time). This production was done by leaving original devices and
media at the residence (having been able to copy the material on site) and for material that could
not be copied on site, providing copies of the devices and/or media after the physical search. These
materials were not reproduced to Manafort.
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applications, and (5) imaged copies of fifteen devices and/or media seized from Manafort’s

residence.

       5.       The government will continue to make additional rolling productions of load-ready

documents, including of documents obtained on an ongoing basis. The government expects to

make its next production early the week of January 15, to include copies of six additional

devices/or media that will be provided to both defendants. Thereafter, two additional devices

seized from Manafort’s residence will remain to be produced to Gates. These devices are currently

in the process of being reviewed by a separate team to identify privileged material that will not be

produced to Gates. 4 The government expects to be in a position to produce this material in the

coming weeks. The government also intends to conduct various quality checks to identify any

additional discoverable information that has not yet been produced. The government will produce

any such material on a rolling basis.

       B. Trial and Motion Schedule

       6.       At the upcoming status conference, the government intends to ask the Court to set

a trial date for May 14, 2018, and a corresponding motion schedule.




       4
          Each defendant is being provided with (a) presumptively privileged material for which
he is the privilege holder and (b) presumptively privileged material on which he has been copied
where his co-defendant holds the privilege. Each defendant will be asked with respect to material
as to which he is the ostensible privilege holder to confirm that the material is privileged; material
over which privilege is not asserted will then be provided to the other co-defendant. This process
remains ongoing.
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                                          Respectfully submitted,

                                          ROBERT S. MUELLER III
                                          Special Counsel

Dated: January 12, 2018             By:   __/s/_Kyle R. Freeny_____________
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